                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    STATESVILLE DIVISION

UNITED STATES OF AMERICA                                ) DOCKET NO.: 5:13-CR-22-RLV-DSC
                                                        )
v.                                                      ) ORDER TO UNSEAL THE PLEA
                                                        ) AGREEMENT AND FACTUAL RESUME
(4) ISAAC A. VINSON, IV,                                )
   a/k/a “Ike Vinson”                                   )



            UPON MOTION of the United States of America, by and through Anne M. Tompkins,

     United States Attorney for the Western District of North Carolina, for an order directing that the

     Plea Agreement and Factual Resume in the above-captioned case be unsealed; and

            IT APPEARING TO THE COURT that there no longer exists any danger to the attendant

     investigation in this case and that disclosure to the parties in United States v. Sparrow, 5:13cr22-

     RLV is required;

            NOW, THEREFORE, IT IS ORDERED that the Plea Agreement and Factual Resume in

     the above-captioned case be unsealed.

            The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

     Marshals Service, Defense Counsel and the United States Attorney's Office.

            SO ORDERED.
                                      Signed: June 3, 2014




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